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 9
                         UNITED STATES DISTRICT COURT
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                       CENTRAL DISTRICT OF CALIFORNIA
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     JOHN MCINTYRE,                      Case No. 2:16-CV-04548-AB-EX
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                Plaintiff,               [PROPOSED] ORDER
14                                       GRANTING STIPULATION TO
          v.                             TRANSFER CASE TO DISTRICT
15                                       OF ARIZONA PURSUANT TO 28
     EXPERIAN INFORMATION                U.S.C. § 1404(A)
16   SOLUTIONS, INC.,
17              Defendant.
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                                                             ORDER GRANTING TRANSFER
                                                              Case No. 2:16-cv-04548-AB-EX
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           Plaintiff John McIntyre and Defendant Experian Information Solutions, Inc.
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     (“Experian”) have agreed, pursuant to 28 U.S.C. § 1404(a), to transfer this action to
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     the District of Arizona, where over 20 similar cases have been consolidated into the
 4
     lawsuit Warner v. Experian Information Solutions, Inc., Case No. 2:15-cv-01212-
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     GMS, filed on June 30, 2015. Based on the Parties’ stipulation, and good cause
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     appearing that transfer would be convenient for parties and witnesses, and in the
 7
     interest of justice, it is hereby ORDERED that this action shall be transferred to the
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     District of Arizona pursuant to 28 U.S.C. § 1404(a), to be consolidated with
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     Warner v. Experian Information Solutions, Inc., Case No. 2:15-cv-01212-GMS.
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     IT IS SO ORDERED.
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           DATED this 7th day of September, 2016.
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                                                Honorable André Birotte Jr.
18                                              United States District Judge
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                                                                    ORDER GRANTING TRANSFER
                                                                     Case No. 2:16-cv-04548-AB-EX
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